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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    JAMES ADAMS, et al.
                                                    Case No. 24-cv-9378 (LAK) (OTW)
                        Plaintiffs,

                         v.

    GUILLERMO GHARIB, et al.


                        Defendants.

     DECLARATION OF MAX BURWICK IN SUPPORT OF PLAINTIFFS’ EX PARTE
          MOTION TO SERVE DEFENDANTS BY ALTERNATIVE MEANS

         I, Max Burwick, Esq., declare as follows pursuant to 28 U.S.C. § 1746:

         1.     I am an attorney duly licensed to practice before the courts of the State of New

York.

         2.     I am the managing partner of Burwick Law PLLC, co-counsel to Plaintiffs1 in this

litigation.


1
 Plaintiffs are James Adams, Joyce Adjei, Jimmie Ahlstrom, Hiren Aka Montu Govindbhai Patel,
Yakup Alici, Krasthorn Alongkornrasmee, Eric Andersen, Michele Irene Arauz Castillo, Kevin
Austin, Marc Aymerich, Chetan Bafna, Frank Bakker, Derek Barss, Claudio Bartschi, Michael
Bauer, Florian Beck, Will Beinert, Christina Berta, Christopher Botto, Taylor Donald Brinton,
Stephen Bruchet, Claire Brynycz, Kyle Burklund, Richard Buteyn, Hila Cage Coppola, Jeroen
Campfens, Alpha Camps DAO, Marco Cantarutti, Keyshawn Carr, Cole Caudill, Pak Ho Ambrose
Chan, Virapong Chandarasanti, Wilson Chin, Bernie Chiv, Alfie Chow, Michael Clarke, Maxime
Coin, Mahius Concord, Chevrolet Cruz, Gabi Dagher, Haithem Dakhli, Finley Dale, Andrew
Dalecki, Brody Daniels, Juan Carlos De Llano, Simon Dent, James Devlin, Jayden Di Palma,
Akryd Institut Digital, Guillaume Dubost, Dennis Duncan, Albert Duncan, Eduardo Elizondo,
Samrat Eltepu, Michael Enriquez, Kenneth Gamble, Timothy Gary, Massimo Gasparini, Stefan
Gasselseder, Buta Cosmin Gheorghe, Shanjan Kumar Gnanasekar, Tim Goddard, Glenn Gordon,
Rory Graman, Tim Grice, Deann Haist, Todd Hallam, Jason Haskell, Ashley Hautman, Michael
Hazilias, Benjamin Heimann, Levi Hendrickson, Greg Hernacki, Ryan Hodder, Joel House, Seth
House, Tasnuva Huda, Darshan Jalan, Foo Jee Ming, Jay Johansen Lim, Jordache Johnson,
Bradley Kamieniarz, James Karavas, Rachael Kay, Daman Khaihra, Poovanut Khamhaeng,
Mohammad Khan, Felix Kilga, Travis Kohler, Jonas Kolberg, Dominick La Spisa, Michael La
Spisa, Lewis Langer, Marwan Laugier, Fernando Leal, Shaun Leggett, Daniel Lestarge, Johan


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       3.      I make this Declaration in Support of Plaintiffs’ Ex Parte Motion to Serve

Defendants by Alternative Means.

       4.      I personally carried out—or directly supervised—every investigation and service

effort described below.

       5.      I have personal knowledge of the matters stated herein and, if called upon, I could

and would competently testify thereto.

       6.      My investigative team performed a RocketReach research report tied to Defendant

Gharib’s    LinkedIn   account   identifying   three   email    addresses:   gjgharib@gmail.com,

gjgharib@hotmail.com, and ggharib@ordendigital.com. On June 11, 2025 an investigative Open

Source Intelligence (“OSINT”) report with OSINT Industries (www.osint.industries) was

performed to confirm the three e-mail addresses of Defendant Gharib are active. The report found




Levaniants, Xiaotian Lin Lin, Michael Lord Microbilo Smith, Jack Louis, Aaron Lowe, Farah
Manley, Aaron Markham, Pedro Martins, Duane Mateski, Sean Matthys, Darren Mattock, Marcus
Maxwell, Colton Mccoy, Blake McElmurry, Mike McGuire, Johannes Meger, Georgi Merazchiev,
Nicholas Mercier, Stephan Michels, Adrian Militaru, Casey Miller, Ivan Mladenovic, David
Mooney, Christopher Morel, Ajeesh Mulavinal Mathew, Evan Murphy, Taito Myllynen, Glen
Naughton, Carlos Navarro, Collin Neitzel, Charles Neitzel, Alessandro Nery, Nathan Nguyen,
Michal Nguyen Van, Colton Nimz, Wesley Clarence Sy O, Brian Daniel Ochs, Colin Ogorman,
Chun Seng Ong, Raymond Ong, Christian Oppl, Dipak Pandey, Dimitrios Papaioannou, Andrei
Paraschiv, Mark Pearce, Egor Pelevkin, Wouter Peters, Georgios Petrou, Andreas Pierrou, Keith
Pillsbury, Caroline Poisson, Harry-Antony Poulos, David Poynter, Christian Poynter, Stephen
Poynter, Ivan Rajcic, Jhojan Eliecer Ramirez Beltran, Amit Rathod, Gavin Rennie, Joyal
Rodrigues, Marc Rogers, Nelson Rosales, Mantas Ryzakovas, Sudhanshu Sachan, Dheeraj
Sanjeev, Sean Santos, Anisha Keshav Sarin, Marc Sedillo, Paul Shuen Hwa Seo, Khurram Shah,
Balazs Sinka, Raphael Soh, Michael Sparks, Nathan Spencer, Timo Sprotte, Zachary Staudt,
Andrew Steedman, Mark Steen, Jason Steen, Christian Steffey, Clark Stewart, Yvo Stoots, Ryan
Stout, David Street, Jonathan Succar, Sujith Sugathan, Rateb Suleiman, Mitchell Sun, Madhav
Sunil Nath, Abdullah Swailimyeen, Sam Tait, Nicholas Tan, Tim Taylor, Alexander Simon
Templeton, Samuel Thompson, Gregory Tiffany, Dikran Tokat, Wiljan Torrefiel, William
Torrens, Daniel Trabold, Alvin Him Kheng Tung, Michael Tyler, Elaine Upton, Tamar Van Der
Haas, Sander Van Der Vegte, Marta Vegas Coletas, Alexis Viprey, Edward Vonallmen, Jordan
Wadsworth, Vaibhav Wankhedkar, Cory Watkins-Suzuki, Katie Whitaker, Maciej Wilk,
Benjamin Wojcik, Craig Zadrapa, Muhammad Waqas Zaman, and Adil Ziad.


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that the address gjgharib@gmail.com had a last Gmail login of June 10, 2025, identifying that the

defendant is actively using this address.

         7.    Defendant Guillermo Gharib was identified as the individual associated with the

X.com account at https://x.com/gm_japan_beai based on the name listed with the account and the

profile image, which matches both the known subject’s identity and the image on his LinkedIn

profile. Further confirmation was obtained by reviewing Mr. Gharib’s LinkedIn account at

https://www.linkedin.com/in/guillermo-gharib-698a263b/, which not only matches his identity but

also reflects a work history and company associations consistent with the information known about

the subject. Attached hereto as Exhibit 1 is a true and correct copy of the PRG Investments, Ltd.

registration record associated with Defendant Guillermo Gharib. Attached hereto as Exhibit 2 is

a true and correct copy of Defendant Guillermo Gharib’s voter registration information. We have

requested his registered address from the government.

         8.    On     May    15,     2025,    I   emailed   a     request   for    service     information

to gjgharib@gmail.com and gjgharib@hotmail.com; all messages were successfully delivered, but

I did not receive any reply. Attached hereto as Exhibit 4 is a true and correct copy of the email

dated May 15, 2025.

         9.    Guillermo Gharib is the Chief Executive Officer and founder of BeNFT. ECF 5

¶ 24. The blockchain account 0x5BD904c6c0c6Ebe4fbC2DF455E2D6E6e014123F5 serves as

BeNFT’s                             primary                          wallet.                            See

https://etherscan.io/address/0x5BD904c6c0c6Ebe4fbC2DF455E2D6E6e014123F5.

         10.   On-chain ENS records list “guillermogharib.eth” as both the “Manager” and the

“Prev.    Owner”    of   this      address,   confirming    Mr.     Gharib’s      direct     control.   See

https://intel.arkm.com/explorer/entity/benft-solutions. Further, Arkham Intelligence displays the




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distinctive       B-e-NFT          logo           as        the       wallet’s            avatar         for

0x5BD904c6c0c6Ebe4fbC2DF455E2D6E6e014123F5, demonstrating that this account is

integrally tied to the BeNFT project he founded and administers.

        11.    Defendant Ashley Greg Harris’s former LinkedIn account, although no longer

active, was located and used in conjunction with the RocketReach search platform, which

identified ash.gharris@gmail.com and blade4life13@hotmail.com as the email addresses

associated with the LinkedIn profile. RocketReach further confirmed the Defendant Ashley Greg

Harris’s name and matched known former employment, including VISPX. Additionally, an

OSINT Industries search of ash.gharris@gmail.com revealed multiple accounts using this email

address, with associated photos that matched the Defendant Harris’s identity. The OSINT report

also indicated that this Google email address was last accessed on June 6, 2025, demonstrating

that the account is actively monitored and is likely to reach the defendant.

        12.    On      May      15,       2025,        I   emailed    a    request          for     service

information ash.gharris@gmail.com and blade4life13@hotmail.com,             both     of     which      were

confirmed as active accounts through OSINT, with the Gmail address last accessed on June 6,

2025; however, I did not receive any replies to these emails. Attached hereto as Exhibit 3 is a true

and correct copy of the email dated May 15, 2025.

        13.    Wallet 0xa7c99c679D9f5666Df45cc2350c119586dA0091F (“VispX_Official”)

registered                the                     ENS                 names                        vispx.eth

(https://etherscan.io/tx/0xa11f9c34bafc6de3b68740446fd6bd95d9d6a18f4f8a6162c6c9fa89d21e

814f)                                         and                                             anarkey.eth

(https://etherscan.io/tx/0xc8ab8e595ba1e2c5f9e71f6774603923521bd44d2dfa7415c1d1aa33265

68967), a process that requires use of the wallet’s private key and thus proves direct control. This




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wallet         is       publicly      identified     as     “VispX_Official”        on      OpenSea

(https://opensea.io/0xa7c99c679d9f5666df45cc2350c119586da0091f), and is linked to vispx.io.

         14.        On June 19, 2025, I sent a direct message containing the pleadings to the Twitter

handle @Jim_NFT, known to belong to Defendant Biniaz, but did not receive a response. Records

from the UK Companies House for dissolved companies list Defendant Biniaz as an officer of

several entities, confirming his prior business presence in the United Kingdom. Despite these

efforts, no reliable email address or physical address for Defendant Biniaz could be identified.

Attached hereto as Exhibit 5 is a true and correct copy of the direct message dated June 19, 2025.

         15.        Attached hereto as Exhibit 6 is true and correct copy of photos from a video

published on May 30, 2025 by Wonderwall Fine Arts of Defendant Peter McInnes’s presence at a

Dubai art conference, where he was observed standing and presenting in front of a “Banksy”

artwork to a crowd of onlookers. Defendant McInnes is purported to own a “Banksy” artwork,

and the image of the individual bears a likeness to a copy of a passport for “Patrick McInnes”

obtained during the investigation. Plaintiffs also located social media posts regarding the unveiling

of Defendant McInnes’s owned Banksy artwork, “The White House Rat,” at a Dubai Art

Conference. According to social media posts from the event host, “Wonderwall Fine Arts,” the

conference was held on May 30, 2025, and a man resembling Defendant McInnes is seen in the

video standing with the artwork he is purported to own. See Ex. 6.

         16.        Defendant McInnes is known both as “Patrick McInnes” and “Peter McInnes.”

         17.        Attached hereto as Exhibit 7 is true and correct copy of Companies House UK

search result of Defendant Peter McInnes.

         18.        Defendant McInnes (a/k/a “Paddy”) is one of the founders of the UA3 umbrella

syndicate. The blockchain account 0x17D323CBB54dcF382B868F74798e2FFC89Ef42f1 is




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associated with the ENS name “paddyisbored.eth,” reflecting Defendant McInnes’s on-chain

identity. See https://etherscan.io/address/0x17D323CBB54dcF382B868F74798e2FFC89Ef42f1.

The            UA3          Syndicate         operational          wallet          address        is

0x375C99E55B9C6F44CD84F0e3601b4a116DcAed68.

         19.     On June 19, 2025, I sent a direct message containing a link to the complaint to the

Twitter handle @Jampzey but did not receive a response. On the same day, my investigative team

confirmed that the Flare Labs website, flarelabs.io, where Defendant Nicholas Schmidt, known as

Jampzer, is listed as a core team member—one of only three team members featured on the

company’s website. Using the Defendant’s username and the company domain, an investigative

report     was       conducted   with     OSINT       Industries   on       the   presumed    email

address jampzer@flarelabs.io. The report confirmed that this email is actively used, as it is

associated with three online account services: Google, Google Maps, and Asana. Additionally, the

flarelabs.io website includes a “Contact Us” section that allows users to schedule a call or send

information directly to the company. Given Defendant Nicholas Schmidt’s role as a core team

member, it is reasonable to conclude that submitting the complaint, exhibits, and summons via the

Contact Us module would reach the defendant. Attached hereto as Exhibit 8 is true and correct

copy of the direct message dated June 19, 2025. Attached hereto as Exhibit 9 is a true and correct

copy of Flare Labs Team page associated with Defendant Nicholas Schmidt. I was previously in

communications with counsel for Defendant Schmidt regarding this lawsuit, but that counsel has

informed Plaintiffs’ counsel that he is not currently representing Defendant Schmidt and he is not

authorized to accept service.

         20.     Wallet 0xa4c441f1D5b94a6Cf826b81B596A74fdFca0477F is explicitly tied to

Defendant Schmidt through his public OpenSea profile, which is titled “Jampzer-OCB” and




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displays this wallet address alongside his Twitter handles “@Jampzer” and “@Jampzey,” as well

as               the               note                “Co-Founder                   @OCBalpha.”

https://opensea.io/0xa4c441f1d5b94a6cf826b81b596a74fdfca0477f.           Defendant      Schmidt’s

OpenSea profile shows on-chain activity performed in the last several days.

        21.    Defendant Schmidt is a co-founder of the On Chain Buccaneers (“OCB”) web3

community and promotes projects under the on-chain pseudonym “Jampzer.” The Ethereum

account 0x59a851891E2F0a1eA91351b042DD75b10aF095D0 is labeled “Jampzer” and displays

the same profile image Defendant Schmidt previously used on Twitter, linking the wallet to him.

See

https://intel.arkm.com/explorer/address/0x59a851891E2F0a1eA91351b042DD75b10aF095D0.

Activity logs confirm transactions through at least June 20, 2025, demonstrating Schmidt’s

continued control of this address and its integral connection to his OCB identity.

        22.    On June 19, 2025, I sent direct messages to the Twitter handle @Hydraze420 but

received no response. Despite conducting property-registry and company-filing searches in Dubai,

my investigators were unable to locate a current residential address for Defendant Wood. My

investigative team also recently conducted an OSINT Industries report using the defendant’s

online username “Hydraze420,” which revealed a Telegram messaging account linked to the

defendant’s Twitter profile. Since Telegram requires registration with a verified phone number, it

is reasonable to conclude that serving the complaint, exhibits, and summons via the Telegram

messaging channel would reach the defendant.         Additionally, on June 19, 2025, my team

confirmed that the Flare Labs website, flarelabs.io, lists Oliver Wood, known as Hydraze, as the

company founder and one of only three core team members. Using the Defendant Wood’s

username and the company domain, an OSINT Industries report was performed on the assumed




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email address hydraze@flarelabs.io. The report confirmed that this email is actively used, as it is

associated with accounts on Google, Google Maps, Microsoft, and DropBox. Notably, the

DropBox account lists the owner’s name as “Oli Wood,” matching the defendant’s name, further

confirming the connection. The flarelabs.io site also features a “Contact Us” section, allowing

users to schedule a call or send messages directly to the company. Attached hereto as Exhibit 10

is a true and correct copy of the direct message dated June 19, 2025.

       23.     Wallet 0x2a93E999816c9826aDe0B51AAa2d83240d8F4596 is repeatedly posted

by Defendant Wood in at least five public X posts requesting token airdrops. See

https://x.com/Hydraze420/status/1657131449420599298;

https://x.com/Hydraze420/status/1614869932990160897;

https://x.com/Hydraze420/status/1671542677165277184;

https://x.com/Hydraze420/status/1672726887703912448;

https://x.com/Hydraze420/status/1758620528955297960.

       24.     Defendant Wood is a co-founder of the On Chain Buccaneers (“OCB”) web3

community and promotes projects under the on-chain pseudonym “Hydraze.” The Ethereum

account 0x2a93E999816c9826aDe0B51AAa2d83240d8F4596 is labeled “Hydraze” and displays

the same profile image Wood previously used on Twitter, confirming his control. See

https://intel.arkm.com/explorer/address/0x2a93E999816c9826aDe0B51AAa2d83240d8F4596.

Activity logs show that this address was active as recently as June 20, 2025, demonstrating that

service upon this account is reasonably likely to reach Defendant Wood in connection with his

StakX-related activities.

       25.     Plaintiffs propose to airdrop a specific NFT to each of the Foreign Defendants’

wallets described above. The NFT will contains a simple image with instructions and a URL




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directing the recipient to a specific web page on a website maintained by Plaintiffs’ counsel. This

web page will have the Corrected Complaint, the summons, and any other relevant documents,

and it will have the “no index” setting to prevent it from being accessible by search engines.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this 20th day of June, 2025, at New York, New York.


                                                     /s/ Max Burwick
                                                     Max Burwick, Esq.




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